1. The petition stated a cause of action for a money judgment in some amount; and since a petition is not subject to dismissal as a whole where it alleges a cause of action for any part of the relief sought, the court did not err in overruling the general demurrer. Poole v. Arnold, 187 Ga. 734, 742
(2 S.E.2d 83).
2. The only evidence introduced in behalf of the plaintiff being his verified petition, and it not appearing therefrom that the defendant landlord was insolvent, or that for other reason the plaintiff did not have an adequate remedy at law for alleged breach of the contract of landlord and cropper, the court erred in granting an injunction.
                       No. 12991. MARCH 14, 1940.
A cropper instituted an action against his landlord, praying for injunction against interference by the defendant with the plaintiff in working the crops on described land, and for a judgment for damages. A demurrer on general and special grounds and an answer were filed. The court did not pass on the special grounds of demurrer, but overruled the general grounds. Upon interlocutory hearing, at which only the petition and the answer were introduced as evidence, the judge granted an injunction as prayed. To these rulings the defendant excepted.
The petition alleged: Under the contract between the plaintiff as cropper and the defendant as landlord, the latter was to furnish the land, mules, implements, seed, and one half of the fertilizer, *Page 769 
while the cropper was to furnish the labor and one half of the fertilizer; each to bear one half of other designated expenses, and to receive one half of the crops raised. The landlord was to furnish a garden plot for the use of the cropper, build a shed for his automobile, and repair a crib in which the cropper placed corn of his own. The plaintiff planted the crops in accordance with the agreement, furnishing half the fertilizer therefor, and properly worked the same except when prevented by failure of the defendant to furnish mules on stated occasions.
The substantial allegations on which the prayer for injunction was based were that the defendant had breached his agreement to furnish mules with which the plaintiff was to work the crops, and had taken charge of the crops and worked them by other laborers, forbidding the plaintiff to remain on the premises, and stating that he (defendant) was charging plaintiff with the cost of working the crops, notwithstanding the plaintiff was ready and willing to do all work necessary on said place, and had ample hands with which to have it done; that the defendant left his own crops, which really needed work, in order to do unnecessary work on the lands being farmed by the plaintiff under their agreement; that the defendant was doing this solely for the purpose and with the intention of defeating the plaintiff's rights in the premises, and to take over to himself the fruits of the plaintiff's labor; that is, the defendant was endeavoring to run said petitioner from said land and to refuse to permit the plaintiff to carry out his part of his obligation under the contract; that the plaintiff had planted and cultivated the crops according to the very best methods of husbandry, and the defendant had no just cause for complaint, but was endeavoring to take said crops from the plaintiff by running up a large and unnecessary bill for alleged labor; that the plaintiff "has no adequate remedy at law, his damage being incalculable, in that if he is run off the place he will not know the amount of the crops produced nor the labor necessary to produce same, and therefore his damages will be under such circumstances too remote and speculative upon which to base a suit." It was not alleged that the defendant was insolvent, or that he would not truthfully disclose the "amount of the crops nor the labor necessary to produce same." The prayer for damages was based on the averments that the defendant agreed to repair a crib in which the plaintiff had stored *Page 770 
corn of his own, and to build a shed for plaintiff's automobile, and had failed to do so, and plaintiff's corn and his automobile had thereby been damaged in sums stated; and that owing to the failure of the defendant to furnish a mule to work the crops, as he had agreed to do, the plaintiff had used his own mule, for which he claimed hire.
In his answer the defendant admitted making the contract as alleged in the petition, except that he denied that he was to furnish a shed for the plaintiff's automobile and repair the crib. He alleged that the plaintiff had neglected the crops, and that it was necessary that the defendant take charge thereof in order that they might be properly worked. He prayed for an injunction restraining the plaintiff from occupying the land on which the crops were growing.
1. The ruling stated in the first headnote does not require elaboration.
2. In Nicholson v. Cook, 76 Ga. 24, it was held: "Where two parties entered into a written contract, whereby one of them was to let the other have fifty acres of land, and was to furnish sufficient stock to cultivate it, and the other was to furnish the labor, and they were to divide the crops, if the former failed to furnish the necessary plow-stock and took charge of the crops, in the absence of any allegation of insolvency, there was an ample remedy at law, and a resort to equity was unnecessary." The same principle was applied in Casey v. McDaniel,154 Ga. 181 (113 S.E. 804), where it was held that the court did not err in refusing an injunction. While the facts of the present case are slightly different, they are not materially so as related to the relief of injunction, and the case falls within the general rule applied in the two cases just cited. See alsoMarshall v. Matthews, 149 Ga. 370 (100 S.E. 103). The instant case is distinguished by its facts from Bussell v.Bishop, 152 Ga. 428 (110 S.E. 174), Kelley v. Moody,176 Ga. 138 (167 S.E. 101), and Hanson v. Fletcher, 183 Ga. 858
(190 S.E. 29). In the Bussell case the judge enjoined the landlord from interfering with the cropper, and appointed a receiver to supervise the harvesting of the crops. The plaintiff's evidence in that case tended to show that the defendant had organized a mob and assaulted the plaintiff *Page 771 
for the purpose of forcing him to abandon his crops. In the decision it was said: "The judge was authorized, under the peculiar facts of this case, to issue an injunction against the landlord, though solvent, restraining him from going upon and taking charge of the crops by the means and in the manner alleged in the petition. That is to say, a court of equity may enjoin a landlord, though solvent, from attempting by mob violence to intimidate his cropper in order to compel him to breach his contract and to abandon his crop after the crop is practically matured. Not only did the landlord and his friends, according to the allegations of the plaintiff, assault the plaintiff, but the landlord thereafter and on several occasions drove his car at night up to and near the house in which plaintiff lived, and conducted himself in such manner as to lead to a reasonable inference that a further assault upon the plaintiff was imminent unless plaintiff should leave the premises."
In the Kelley case, supra, there were other features in the contract besides the relation of landlord and cropper, and it was alleged that the landlord was insolvent. In the Hanson case, supra, a landlord instituted an action to enjoin a cropper from continuing to occupy the premises after his discharge as an employee. At interlocutory hearing the court granted an injunction as prayed by the plaintiff, but also appointed a receiver to harvest and divide the remaining crops, as prayed by the defendant. To the order appointing a receiver the plaintiff excepted. The propriety of this order was the only question for determination, as the landlord was not enjoined. In that case the judge was authorized to find that by special agreement the landlord had relinquished the right to control and possess the crops, having consented for the defendant to possess and market them as they matured. It appears that the decision by this court was based in part upon this circumstance, the conclusion being, that, "In view of the special terms of the contract and the other facts of the case, the court did not err in appointing a receiver." The allegations in paragraph 15 of the present petition, that "Your petitioner . . has no adequate remedy at law, his damage being incalculable, in that if he is run off the place he will not know the amount of the crops produced nor the labor necessary to produce same, and therefore his damages will be under such circumstances too remote and speculative upon which to *Page 772 
base a suit," are mere conclusions of the pleader, and do not suffice to present a case for equitable interference. AtlanticCoast Line Railroad Co. v. Gunn, 185 Ga. 108 (2), 110 (194 S.E. 365). The mere fact that it would be difficult to procure evidence would not render the injury irreparable in a legal sense. Gray Lumber Co. v. Gaskin, 122 Ga. 342 (6) (50 S.E. 164). As to the legal remedies which are open to the plaintiff in such case, see Jennings v. Lanham, 19 Ga. App. 79
(90 S.E. 1038); Perdue v. Cason, 22 Ga. App. 284 (96 S.E. 16);Surrency v. O'Quinn, 45 Ga. App. 455 (2) (165 S.E. 171).
Judgment reversed. All the Justices concur.